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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                                      Criminal No.     24cr10259
     UNITED STATES OF AMERICA
                                                      Violation:
                V.


                                                      Count One: Killing a Witness or Victim
     MATTHEW FARWELL,                                 (18 U.S.C.§ 1512(a)(1)(C))

                       Defendant


                                         INDICTMENT

      At all times relevant to this Indictment:

                                      General Allegations

       1.     Between on or about March 27, 2012, and on or about April 1, 2022, defendant

MATTHEW FARWELL (hereinafter,"FARWELL")was a sworn officer ofthe Stoughton Police

Department in Stoughton, Massachusetts. In his capacity as a Stoughton police officer,

FARWELL also served as an instructor for the Stoughton Police Explorers Academy(hereinafter,

the "Police Explorers"), which was a vocational education program for local youth. The Police

Explorers was designed to enable youth participants to learn about law enforcement careers.

       2.     Sandra Birchmore was born in May 1997. In or around March 2010, Sandra

Birchmore applied to be a participant in the Police Explorers. At that time, Birchmore was 12

years old. She began participating in the program in or ai'ound the spring of2010 and remained in
the program through in or around 2016.

       3.     Prior to in or around 2012, FARWELL was a Police Explorers volunteer. He
became an instructor when he started worldng for the Stoughton Police Department in 2012.
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